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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 DERRICK RAY,                                   §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §   CIVIL ACTION NO. 3:19-CV-0119-B
                                                §
 TATE & KIRLIN ASSOCIATES,                      §
 INC.,                                          §
                                                §
      Defendants.                               §

                                   STATUS REPORT ORDER
                            (Joint Status Report Due April 22, 2019)

         In accordance with Federal Rules of Civil Procedure 16(b) and 26(f), the Court enters this

order to promote early settlement of this action and to facilitate entry of the scheduling order. Early

meaningful discussions are critical to effective case management and to the just resolution of

disputes. With that in mind, the Court directs the parties to carefully review this order and strongly

emphasizes the importance of strictly complying with its directives. Perfunctory meetings and generic

or vague status reports are not acceptable and will prompt the Court to order an additional meeting

and report. Accordingly, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel are

directed to meet and confer for the purpose of submitting a JOINT status report as follows:

                                 I. MEETING REQUIREMENTS

         Lead counsel for each party (or a designee attorney with appropriate authority) must meet

face-to-face at a mutually agreeable location, and no later than seven (7) calendar days before the

Joint Status Report due date set forth above. It is unacceptable to submit a proposal in which counsel

recite that they were unable to meet in the required manner. Advance Court approval must be

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obtained to eliminate the requirement that counsel meet face-to-face. The requirement of a face-to-

face meeting does not apply if one or more parties are proceeding pro se. In that instance, the Rule

26(f) conference may be conducted telephonically, by mail, or in another form of communication

that will accomplish the conference requirement.

       Counsel must confer regarding the matters specified in Rule 26(f) and by this order.

                                II. REPORT REQUIREMENTS

       The report shall be FILED no later than April 22, 2019, and shall address in separate

paragraphs each of the following matters:

      1.       A brief statement of the nature of the case, including the contentions of the parties;

      2.       Any challenge to jurisdiction or venue, including any procedural defects in removal

               if this case was removed;

      3.       Any pending motions;

      4.       Any matters that require a conference with the court;

      5.       Likelihood that other parties will be joined or the pleadings amended;

      6.       (a) An estimate of the time needed for discovery, with reasons, (b) a specification of

               the subjects on which discovery may be needed, and (c) whether discovery should be

               conducted in phases or be limited to or focused upon particular issues;

      7.       Any issues related to disclosure or discovery of electronically stored information,

               including the form or forms (e.g., TIF, PDF, or native; with or without metadata;

               searchable or not) in which it should be produced;

      8.       Any issues relating to claims of privilege or of protection as trial-preparation material,

               including—if the parties agree on a procedure to assert such claims after

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         production—whether they will be asking the Court to include their agreement in an

         order;

 9.      What changes, if any, should be made in the limitations on discovery imposed under

         the Federal rules or by local rule, and what other limitations should be imposed;

 10.     Any other orders that should be entered by the Court under Rule 26(c) or Rule 16(b)

         and (c);

 11.     Proposed deadlines with specific dates that limit the time to (a) join other parties and

         to amend the pleadings; (b) file motions, including summary judgment and other

         dispositive motions; (c) complete discovery; and (d) designate expert witnesses and

         make the expert disclosures required by Rule 26(a)(2);

 12.     Requested trial date, estimated length of trial, and whether a jury has been

         demanded;

 13.     Whether the parties will consent to trial (jury or non-jury) before a United States

         Magistrate Judge per 28 U.S.C. § 636(c);

 14.     Progress made toward settlement, and the present status of settlement negotiations.

         This must be a detailed report. Do not submit a generic recitation that settlement

         was discussed but was unsuccessful;

 15.     What form of alternative dispute resolution (e.g., mediation, arbitration, summary

         jury trial, court-supervised settlement conference, or early neutral evaluation) would

         be most appropriate for resolving this case and when it would be most effective; and

 16.     Any other matters relevant to the status and disposition of this case.

  Any differences between counsel as to the status of any of the above matters must be set forth

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in the report. Failure to timely submit the status report may result in the imposition of sanctions,

including dismissal without further notice. See FED. R. CIV. P. 16(f).

                           III. JOINT RESPONSIBILITY FOR PROPOSAL

        Pursuant to Rule 26(f), the attorneys of record and all unrepresented parties that have

appeared in the case are jointly responsible for: (1) arranging and being present or represented at the

meeting (or for otherwise conferring if exempt from the requirement of a face-to-face meeting); (2)

attempting in good faith to agree on the scheduling proposal; and (3) submitting the proposal to the

Court no later than the due date set forth above.

                   IV. MANDATORY INITIAL DISCLOSURE REQUIREMENT

       The disclosures required by Rule 26(a)(1), must be made within thirty (30) days of the date

of this order, EXCEPT as to those cases exempted under Rule 26(a)(1)(E). See FED. R. CIV. P.

26(a)(1). The parties may not, absent Court permission, agree or stipulate to opt out of the initial

disclosure requirement. See FED. R. CIV. P. 26(a)(1) advisory committee’s note to 2000 amendments.

                     V. ELECTRONIC CASE MANAGEMENT AND NOTICE

      All licensed attorneys are required to comply with Local Rules 5.1(e)–(f). Pro se litigants (non-

prisoner) must register for electronic transmission (e-mail) notice of orders and judgments within

thirty (30) days of the date this order is signed. Information about electronic noticing can be

obtained from the Court’s website at:

http://www.txnd.uscourts.gov/records/ens.html.

       All questions regarding this order or any scheduling matters should be directed to Judge

Boyle’s Court Administrator at (214) 753-2740.



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  SO ORDERED.

  SIGNED: April 1, 2019.



                               _________________________________
                               JANE J. BOYLE
                               UNITED STATES DISTRICT JUDGE




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